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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               WESTERN DIVISION

UNITED STATES OF AMERICA,

VS.                                                    CRIMINAL ACTION NO. 3:08CR074-P-A

KEIDRICK LIVINGSTON and CRAIG ROEBUCK                                          DEFENDANTS.

                                 ORDER CONTINUING TRIAL

       This matter comes before the court upon Defendant Keidrick Livingston’s motion for a

continuance of trial [28]. After due consideration of the motion, the court finds as follows, to-wit:

       Trial is currently set for October 6, 2008. Defense counsel was recently appointed to

represent Defendant Livingston on August 26, 2008. Defense counsel requests a continuance to

afford more time to meet with the defendant, complete inspection of discovery material, prepare any

necessary pretrial motions, and to engage in plea negotiations.

       The Government has no objection to the continuance.

       The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. section

3161(h)(8)(A), the period of delay from October 6, 2008 until the new trial date to be set in this

matter. The time is excludable under subsection (h)(8)(A) because, given the circumstances

described above, a continuance is necessary to afford the defendant’s counsel more time to

adequately prepare for his client’s defense. As such, the ends of justice served by the granting of this

continuance outweigh the best interests of the public and the defendant in a speedy trial.

       IT IS THEREFORE ORDERED AND ADJUDGED that:

       (1) Defendant Keidrick Livingston’s motion for a continuance of trial [28] is GRANTED;

       (2) Trial of this matter is continued as to both defendants until Monday, November 3, 2008

at 9:00 a.m. in the United States Courthouse in Greenville, Mississippi;
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       (3) The delay from October 6, 2008 to November 3, 2008 is excluded from Speedy Trial Act

considerations as set out above;

       (4) The deadline for filing pretrial motions is October 14, 2008; and

       (5) The deadline for submitting a plea agreement is October 20, 2008.

       SO ORDERED this the 8th day of September, A.D., 2008.


                                                    /s/ W. Allen Pepper, Jr.
                                                    W. ALLEN PEPPER, JR.
                                                    UNITED STATES DISTRICT JUDGE
